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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

JOHNATHAN MASON,                               §
    Plaintiff,                                 §
                                               §
v.                                             §
                                               §       Civil Action No. 3:21-cv-1380
LYFT, INC. AND LYFT, INC. D/B/A                §
LYFT DRIVES TEXAS, INC.,                       §
      Defendants.                              §
                                               §


 DEFENDANTS LYFT, INC. AND LYFT, INC. D/B/A LYFT DRIVES TEXAS, INC.’S
                        NOTICE OF REMOVAL


        Pursuant to 28 U.S.C. §§ 1332(a), 1441(b), and 1446, as well as Rule 81.1 of the Local

Civil Rules (“Local Rule 81.1”) of the United States District Court for the Northern District

of Texas, Defendants Lyft, Inc. and Lyft, Inc. d/b/a Lyft Drives Texas, Inc. (collectively,

“Lyft”) file this Notice of Removal.

                         FACTUAL AND PROCEDURAL BACKGROUND

        1.      On May 17, 2021, Plaintiff Johnathan Mason filed Plaintiff’s Original

Petition (“Petition”) against Lyft in a civil action styled Johnathan Mason vs. Lyft, Inc. and

Lyft, Inc. d/b/a Lyft Drives Texas, Inc.; Cause No. CC-21-01905-B; in the County Court at

Law No. 2, Dallas County, Texas (“State Court Action”). [See generally Pl. Orig. Pet.]

        2.      The Petition alleges Plaintiff is a resident of Dallas County, State of Texas.

[Id. at ¶ 3].

        3.      The Petition did not contain any allegations of Lyft’s citizenship. [See

generally id.] However, Lyft is incorporated in the State of Delaware with its principal


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place of business in the State of California. Lyft’s incorporation date with the Delaware

Division of Corporations was March 5, 2007, and its file number is 4311245. This

information is readily available at the following website for the Delaware Division of

Corporations: https://icis.corp.delaware.gov/Ecorp/EntitySearch/NameSearch.aspx.

          4.    The amount in controversy stated in the Petition exceeds $75,000. [Id. at

¶ 19]. Plaintiff explicitly pleads damages between $250,000 and $1,000,000. [Id.].

                                      BASIS FOR REMOVAL

          5.    This is a civil action over which this Court has original jurisdiction pursuant

to 28 U.S.C. § 1332 and is one which may be removed to this Court pursuant to 28 U.S.C.

§ 1441 because it is an action between citizens of different states or countries wherein the

matter in controversy exceeds the sum of $75,000.00, exclusive of interest and costs.

A.        Complete Diversity of Citizenship

          6.    Plaintiff is a citizen of Dallas County, Texas. [Id. at ¶ 3].

          7.    Defendant Lyft, Inc. is a corporation organized under the laws of the State

of Delaware, and Lyft’s principal place of business is California. See supra ¶ 3.

          8.    Defendant, Lyft, Inc. d/b/a Lyft Drives Texas is a corporation organized

under the laws of the State of Delaware, and its principal place of business is California.

See id.

          9.    Thus, pursuant to 28 U.S.C. § 1332, complete diversity of citizenship exists

between Plaintiff and Defendants.

B.        Amount in Controversy Requirement Satisfied

          10.   The amount in controversy exceeds $75,000 by Plaintiff’s express damages



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request in the Petition. [Id. at ¶ 19].

C.     Notice of Removal Timely Filed

       11.     The start of the 30-day period to remove this lawsuit under 28 U.S.C.

§ 1446(b)(3) was triggered by service of the Petition on Lyft on May 19, 2021. [See Lyft

Return of Service date on Court Docket Sheet]. Accordingly, the deadline for removal is

June 18, 2021. This Notice of Removal is being filed in advance of such deadline.

                                          CONCLUSION

       12.     Pursuant to 28 U.S.C. §§ 1332(a), 1441(b), and 1446, and Local Rule 81.1,

removal of the State Court Action is proper. Venue is proper for removal to this district

pursuant to 28 U.S.C. § 1441(a) because this district and division embrace the place in

which the State Court Action is pending.

       13.     In accordance with 28 U.S.C. § 1446(a) and Local Rule 81.1, copies of all

process, pleadings, and orders filed in the State Court Action as of this date, and a copy

of the state court’s docket sheet, are contained in the Index of Documents, which is

attached hereto as Exhibit “A” and filed contemporaneously with this Notice of Removal.

       14.     Promptly after the filing of this Notice of Removal, Lyft shall give written

notice of the removal to Plaintiff through his attorney of record and to the clerk of the

state court as required by 28 U.S.C. § 1446(d).

       15.     Lyft reserves all defenses to the claims alleged by Plaintiff.

       WHEREFORE, Defendants Lyft, Inc. and Lyft, Inc. d/b/a Lyft Drives Texas, Inc.

respectfully pray that the State Court Action currently pending as Johnathan Mason vs.

Lyft, Inc. and Lyft, Inc. d/b/a Lyft Drives Texas, Inc.; Cause No. CC-21-01905-B; in the County



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Court at Law No. 2, Dallas County, Texas, be removed to this Federal District Court and

that this Court accept jurisdiction of this action. Lyft further prays that this Court place

this action on its docket for further proceedings as though it had originated in this Court,

that this Court issue all necessary orders, and for such other and further relief to which it

may show itself entitled.

                                          Respectfully submitted,




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                                          ATTORNEY FOR DEFENDANTS
                                          LYFT, INC. AND LYFT, INC.
                                          D/B/A LYFT DRIVES TEXAS, INC.

                                 CERTIFICATE OF SERVICE

        On June 14, 2021, I electronically submitted the foregoing document with the clerk
of court for the U.S. District Court, Northern District of Texas, using the electronic case
filing system of the court. I hereby certify that I have served all counsel of record
electronically or by another manner authorized by the Federal Rules of Civil Procedure.




                                          Katie M. Ackels




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